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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

THE UNITED STATES OF AMERICA,                    *
                                                 *
                                                 *
                         vs.                     *    Case No. RWT 10-cr-777-15
                                                 *
ANTHONY MARCANTONI,                              *
                                                 *
                       Defendant                 *

                          MEMORANDUM OPINION AND ORDER

        On April 8, 2005, Defendant, Anthony Marcantoni, was sentenced in the United States

District Court for the District of Maryland for 60 months imprisonment, followed by a term of

supervised release of five years, in connection with charges including conspiracy to distribute

marijuana, identity fraud, false statement, and money laundering. See Judgment, United States v.

Anthony J. Marcantoni, No. 03-cr-00088-WDQ (D.Md. April, 8, 2005), ECF No. 50. In 2007, after

serving a 60 month federal sentence of incarceration for conspiracy to distribute marijuana, identity

fraud, false statement, and money laundering, Mr. Marcantoni began serving a term of five years

supervised release. While on supervised release, a Grand Jury returned a superseding indictment on

April 11, 2011 which added Mr. Marcantoni as a defendant and charged him with conspiring to

distribute 1,000 kilograms or more of marijuana.

       On June 16, 2011, a pretrial detention hearing was held before Magistrate Judge William

Connelly, pursuant to 18 U.S.C. § 3142(f). At the conclusion of the hearing, Judge Connelly found,

by clear and convincing evidence, from the information produced at the hearing that the defendant

(1) poses a risk to the safety of other persons and the community, and (2) that there is no condition

or combination of conditions which will reasonably assure community safety. As a result of these


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findings, Judge Connelly entered an Order detaining the Defendant pending trial.               On

September 28, 2011, Judge Connelly affirmed his June 16, 2011 ruling, when he denied Defendant’s

Motion to Amend the Order of Detention.

       On January 19, 2012, Defendant filed a Motion to Amend Order of Detention [ECF No. 246],

pursuant to 18 U.S.C. § 3145(b). Mr. Marcantoni has been indicted for an offense that provides up

to life imprisonment and a potential 20 year mandatory term of incarceration. See 21 U.S.C. §§

841(a)(1), 841(b)(1)(A)(vii), and 846. Under 18 U.S.C. § 3142(e)(3), there is a rebuttable

presumption that no condition or combination of conditions will reasonably assure the appearance of

the defendant and the safety of the community because Mr. Marcantoni has been indicted for an

offense for “which a maximum term of imprisonment of ten years or more is prescribed in the

Controlled Substances Act (21 U.S.C. 801 et seq.), the Controlled Substances Import and Export Act

(21 U.S.C. 951 et seq.), or chapter 705 of title 46.”

       In accordance with § 3145(b) and the relevant case law, see e.g., United States v. Clark,

865 F.2d 1433, 1436-38 (4th Cir. 1989); United States v. Williams, 753 F.2d 329, 331-34 (4th Cir.

1985), this Court has conducted a de novo review of the detention order. In conducting this review,

the Court has considered, in addition to Defendant=s motion, the findings of Judge Connelly, the

written record before him, a recording of the June 16, 2011 and September 28, 2011 detention

hearings held before him, the Government’s opposition, and additional proffers and arguments from

both counsel for the Government and counsel for the Defendant at a hearing held before the

undersigned on February 9, 2012. On the basis of this review, the Court makes the following

findings in accordance with the factors elucidated in § 3142(g).

       1.      The Court adopts and incorporates all of Judge Connelly’s findings below.


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2.    The Defendant is charged with conspiracy to distribute and possess with intent to

      distribute 1,000 kilograms or more of marijuana in violation of 21 U.S.C. § 846,

      which has a potential term of imprisonment of life and a potential mandatory twenty

      (20) year term of incarceration.

3.    The weight of the Government=s proffered evidence as to Defendant’s guilt,

      including wiretap intercepts of co-defendants discussing payments of funds to

      Mr. Marcantoni, multiple cellular phones, as well as the testimony of other

      co-defendants and witnesses implicating Mr. Marcantoni in the conspiracy, is

      moderate to substantial.

4.    Additional evidence proffered by the Government, includes evidence that (1) at least

      one participant in the conspiracy describes delivering multiple 50 to 100 pound loads

      of marijuana to Mr. Marcantoni between 2008 and 2010; (2) another participant in

      the conspiracy describes receiving multiple 100 to 200 pound deliveries from

      Mr. Marcantoni starting in 2009 until November 2010; and (3) Mr. Marcantoni’s

      insistence that a co-conspirator use a Philadelphia-based attorney who, on a prior

      occasion, intimidated another member of the conspiracy.

5.    Although the Defendant’s ties to the community are strong, his character and history

      are not good. His character and history indicate a proclivity to engage in the exact

      same illicit drug conduct, which resulted in his 2005 sentence for conspiracy to

      distribute marijuana, identity fraud, false statement, and money laundering before

      Judge Andre Davis.




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       6.      While the Court believes there is a modest risk that the Defendant will not appear at

               trial, the Court finds that there is a serious risk of danger to the community posed by

               Defendant’s preferred pretrial release conditions—confinement and electronic

               monitoring—given that the Defendant was on supervised release at the time of the

               instant offense, and has not adjusted well to supervision by being out of range on

               several occasions and returning home late without prior authorization.

       As a result of these findings, and for the reasons stated on the record at a hearing held before

the undersigned on February 9, 2012, it is, this 22nd day of February, 2012, by the United States

District Court for the District of Maryland

       ORDERED, that Defendant Anthony Marcantoni’s Motion to Amend Order of Detention

[ECF No. 246] is DENIED.



                                                                   /s/
                                                            ROGER W. TITUS
                                                       UNITED STATES DISTRICT JUDGE




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